






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00032-CR






George Alford Heidleberg, Jr., Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF DALLAS COUNTY, 265TH JUDICIAL DISTRICT


NO. F-0155561-IR, HONORABLE KEITH T. DEAN, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Appellant George Alford Heidleberg, Jr., was placed on deferred adjudication
community supervision after he pleaded guilty to aggravated assault.  See Tex. Pen. Code Ann.
§&nbsp;22.02(a)(2) (West 2003).  At a subsequent hearing on the State's motion to adjudicate, appellant
pleaded true to the alleged violations of supervision.  The court adjudged him guilty and sentenced
him to two years' imprisonment.

Appellant's court-appointed attorney filed a brief concluding that the appeal is
frivolous and without merit.  The brief meets the requirements of Anders v. California, 386 U.S. 738
(1967), by presenting a professional evaluation of the record demonstrating why there are no
arguable grounds to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988); High v. State, 573
S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974);
Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d 137 (Tex.
Crim. App. 1969).  A copy of counsel's brief was delivered to appellant, and he was advised of his
right to examine the appellate record and to file a pro se brief.  No pro se brief has been filed.

We have reviewed the record and counsel's brief and agree that the appeal is frivolous
and without merit.  We find nothing in the record that might arguably support the appeal.  Counsel's
motion to withdraw is granted.

The judgment of conviction is affirmed.



				____________________________________________

				Mack Kidd, Justice

Before Chief Justice Law, Justices Kidd and Puryear

Affirmed

Filed:   December 4, 2003

Do Not Publish


